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                  EXHIBIT A
                  Foshee v. United States of America, et al.
                              8:23-cv-00375
DocuSign Envelope ID: B46C1D51-1273-481B-8484-E13F852288C0
                 Case 8:23-cv-00375-DFM Document 1-1 Filed 03/03/23 Page 2 of 3 Page ID #:11
              CLAIM FOR DAMAGE,          INSTRUCTIONS: Please read carefully the instructions on the         FORM APPROVED
                                         reverse side and supply information requested on both sides of this OMB NO. 1105-0008
               INJURY, OR DEATH          form. Use additional sheet(s) if necessary. See reverse side for
                                                                        additional instructions.
 1. Submit to Appropriate Federal Agency:                                                            2. Name, address of claimant, and claimant's personal representative if any.
                                                                                                        (See instructions on reverse). Number, Street, City, State and Zip code.
     Maria Gonzalez, Tort Claims Coordinator                                                         Clinton Foshee | 24391 Avenida De La Carolta #402 | Laguna
     P.O. Box 27727                                                                                  Hills, CA 92653
     Santa Ana, CA 92799                                                                             Russ W. Ercolani | 4195 E. Thousand Oaks Blvd., Suite 175 |
                                                                                                     Westlake Village, CA 91362
 3. TYPE OF EMPLOYMENT                    4. DATE OF BIRTH             5. MARITAL STATUS             6. DATE AND DAY OF ACCIDENT                          7. TIME (A.M. OR P.M.)
        MILITARY        X   CIVILIAN          11/4/1977                       Single                 March 6, 2021                                          2:00 p.m.
8. BASIS OF CLAIM (State in detail the known facts and circumstances attending the damage, injury, or death, identifying persons and property involved, the place of occurrence and
   the cause thereof. Use additional pages if necessary).

 Location: Intersection of Ashland Dr. and Weyburn Dr., Laguna Hills, CA 92653

 USPS mail truck (No. 0215995) pulled out from the east curb line, causing the front end of the USPS truck to collide
 with the passenger side of claimant's vehicle. Claimant swerved his vehicle after the impact and was struck a second
 time by the mail truck when straightening back out.

9.                                                                                 PROPERTY DAMAGE
NAME AND ADDRESS OF OWNER, IF OTHER THAN CLAIMANT (Number, Street, City, State, and Zip Code).

      Clinton Foshee | 24391 Avenida De La Carlota # 402 | Laguna Hills, CA 92653
BRIEFLY DESCRIBE THE PROPERTY, NATURE AND EXTENT OF THE DAMAGE AND THE LOCATION OF WHERE THE PROPERTY MAY BE INSPECTED.
(See instructions on reverse side).
 2012 Chevrolet Cuze LT1 | Vehicle was declared a total loss by client's auto insurance carrier, State Farm | Net
 Payment to Claimant: $9,164.77
10.                                                                     PERSONAL INJURY/WRONGFUL DEATH

STATE THE NATURE AND EXTENT OF EACH INJURY OR CAUSE OF DEATH, WHICH FORMS THE BASIS OF THE CLAIM. IF OTHER THAN CLAIMANT, STATE THE NAME
OF THE INJURED PERSON OR DECEDENT.
 Claimant suffered injuries to his head, neck, back, and right shoulder. The impact of the collision caused Mr. Foshee to hit his head on the door window, resulting in
 post-concussive syndrome which has caused nausea, extreme headaches, diziness, and irritability. He has radiculopathy and numbness in his arm and hand. An MRI of his
 cervical spine revealed a 3 mm disc herniation at C5-6, biforaminal stenosis at C5-6 and C6-7, and a compression fracture at C6 and C7 vertebral. An MRI of his lumbar spine
 revealed a 3 mm disc herniation of L2-3 and Grade 1 spondyloisthesis at L5-S1, with a 3 mm disc herniation at L5-S1. An MRI of his right shoulder revealed evidence of
 subacromial bursitis, supraspinatus tendonitis.

11.                                                                                     WITNESSES

                                NAME                                                                  ADDRESS (Number, Street, City, State, and Zip Code)



                             N/A                                                    Claimant is not aware of any independent witnesses.


12. (See instructions on reverse).                                            AMOUNT OF CLAIM (in dollars)

12a. PROPERTY DAMAGE                      12b. PERSONAL INJURY                                 12c. WRONGFUL DEATH                    12d. TOTAL (Failure to specify may cause
                                                                                                                                           forfeiture of your rights).
           $9,164.77                                $4,000,000                                             N/A                                     $4,009,164.77
I CERTIFY THAT THE AMOUNT OF CLAIM COVERS ONLY DAMAGES AND INJURIES CAUSED BY THE INCIDENT ABOVE AND AGREE TO ACCEPT SAID AMOUNT IN
FULL SATISFACTION AND FINAL SETTLEMENT OF THIS CLAIM.

13a. SIGNATURE OF CLAIMANT (See instructions on reverse side).                                       13b. PHONE NUMBER OF PERSON SIGNING FORM 14. DATE OF SIGNATURE
                                                                                                                                                                 9/1/2021
                                                                                                                     (805) 338-6880
                               CIVIL PENALTY FOR PRESENTING                                                       CRIMINAL PENALTY FOR PRESENTING FRAUDULENT
                                      FRAUDULENT CLAIM                                                                 CLAIM OR MAKING FALSE STATEMENTS

 The claimant is liable to the United States Government for a civil penalty of not less than         Fine, imprisonment, or both. (See 18 U.S.C. 287, 1001.)
 $5,000 and not more than $10,000, plus 3 times the amount of damages sustained
 by the Government. (See 31 U.S.C. 3729).

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Previous Edition is not Usable                                                                                                                 PRESCRIBED BY DEPT. OF JUSTICE
                                                                                                                                               28 CFR 14.2
95-109
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                                                                                   INSURANCE COVERAGE

 In order that subrogation claims may be adjudicated, it is essential that the claimant provide the following information regarding the insurance coverage of the vehicle or property.

 15. Do you carry accident Insurance?
                          X Yes If yes, give name and address of insurance company (Number, Street, City, State, and Zip Code) and policy number.                                       No

 State Farm | P.O. Box 106171 Atlanta, GA 30348-6171
 Policy No.: 401 8011-B23-5

 16. Have you filed a claim with your insurance carrier in this instance, and if so, is it full coverage or deductible?    X    Yes         No     17. If deductible, state amount.


    Deductible                                                                                                                                                  $500

 18. If a claim has been filed with your carrier, what action has your insurer taken or proposed to take with reference to your claim? (It is necessary that you ascertain these facts).

   State Farm declared the vehicle a total loss. He was paid a net amount of $9,164.77.


 19. Do you carry public liability and property damage insurance?          Yes     If yes, give name and address of insurance carrier (Number, Street, City, State, and Zip Code).      X No

    N/A


                                                                                        INSTRUCTIONS

 Claims presented under the Federal Tort Claims Act should be submitted directly to the "appropriate Federal agency" whose
 employee(s) was involved in the incident. If the incident involves more than one claimant, each claimant should submit a separate
 claim form.

                                                          Complete all items - Insert the word NONE where applicable.

 A CLAIM SHALL BE DEEMED TO HAVE BEEN PRESENTED WHEN A FEDERAL                                    DAMAGES IN A SUM CERTAIN FOR INJURY TO OR LOSS OF PROPERTY, PERSONAL
 AGENCY RECEIVES FROM A CLAIMANT, HIS DULY AUTHORIZED AGENT, OR LEGAL                             INJURY, OR DEATH ALLEGED TO HAVE OCCURRED BY REASON OF THE INCIDENT.
 REPRESENTATIVE, AN EXECUTED STANDARD FORM 95 OR OTHER WRITTEN                                    THE CLAIM MUST BE PRESENTED TO THE APPROPRIATE FEDERAL AGENCY WITHIN
 NOTIFICATION OF AN INCIDENT, ACCOMPANIED BY A CLAIM FOR MONEY                                    TWO YEARS AFTER THE CLAIM ACCRUES.

 Failure to completely execute this form or to supply the requested material within                The amount claimed should be substantiated by competent evidence as follows:
 two years from the date the claim accrued may render your claim invalid. A claim
 is deemed presented when it is received by the appropriate agency, not when it is                 (a) In support of the claim for personal injury or death, the claimant should submit a
 mailed.                                                                                           written report by the attending physician, showing the nature and extent of the injury, the
                                                                                                   nature and extent of treatment, the degree of permanent disability, if any, the prognosis,
                                                                                                   and the period of hospitalization, or incapacitation, attaching itemized bills for medical,
 If instruction is needed in completing this form, the agency listed in item #1 on the reverse     hospital, or burial expenses actually incurred.
 side may be contacted. Complete regulations pertaining to claims asserted under the
 Federal Tort Claims Act can be found in Title 28, Code of Federal Regulations, Part 14.
 Many agencies have published supplementing regulations. If more than one agency is                (b) In support of claims for damage to property, which has been or can be economically
 involved, please state each agency.                                                               repaired, the claimant should submit at least two itemized signed statements or estimates
                                                                                                   by reliable, disinterested concerns, or, if payment has been made, the itemized signed
                                                                                                   receipts evidencing payment.
 The claim may be filled by a duly authorized agent or other legal representative, provided
 evidence satisfactory to the Government is submitted with the claim establishing express
 authority to act for the claimant. A claim presented by an agent or legal representative          (c) In support of claims for damage to property which is not economically repairable, or if
 must be presented in the name of the claimant. If the claim is signed by the agent or             the property is lost or destroyed, the claimant should submit statements as to the original
 legal representative, it must show the title or legal capacity of the person signing and be       cost of the property, the date of purchase, and the value of the property, both before and
 accompanied by evidence of his/her authority to present a claim on behalf of the claimant         after the accident. Such statements should be by disinterested competent persons,
 as agent, executor, administrator, parent, guardian or other representative.                      preferably reputable dealers or officials familiar with the type of property damaged, or by
                                                                                                   two or more competitive bidders, and should be certified as being just and correct.

 If claimant intends to file for both personal injury and property damage, the amount for
 each must be shown in item number 12 of this form.                                                (d) Failure to specify a sum certain will render your claim invalid and may result in
                                                                                                   forfeiture of your rights.

                                                                                    PRIVACY ACT NOTICE
 This Notice is provided in accordance with the Privacy Act, 5 U.S.C. 552a(e)(3), and              B. Principal Purpose: The information requested is to be used in evaluating claims.
 concerns the information requested in the letter to which this Notice is attached.                C. Routine Use: See the Notices of Systems of Records for the agency to whom you are
     A. Authority: The requested information is solicited pursuant to one or more of the              submitting this form for this information.
         following: 5 U.S.C. 301, 28 U.S.C. 501 et seq., 28 U.S.C. 2671 et seq., 28 C.F.R.         D. Effect of Failure to Respond: Disclosure is voluntary. However, failure to supply the
         Part 14.                                                                                     requested information or to execute the form may render your claim "invalid."

                                                                           PAPERWORK REDUCTION ACT NOTICE

 This notice is solely for the purpose of the Paperwork Reduction Act, 44 U.S.C. 3501. Public reporting burden for this collection of information is estimated to average 6 hours per
 response, including the time for reviewing instructions, searching existing data sources, gathering and maintaining the data needed, and completing and reviewing the collection of
 information. Send comments regarding this burden estimate or any other aspect of this collection of information, including suggestions for reducing this burden, to the Director, Torts
 Branch, Attention: Paperwork Reduction Staff, Civil Division, U.S. Department of Justice, Washington, DC 20530 or to the Office of Management and Budget. Do not mail completed
 form(s) to these addresses.

                                                                                                                                            STANDARD FORM 95 REV. (2/2007) BACK
